Case 3:19-cv-00714-REP Document3 Filed 10/02/19 Page 1 of 3 PagelID# 501

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division
EMERSON EUGENE STEVENS,
Petitioner,
Vv. Civil Action No. 3:19CV714

ADRIANNE BENETT,

Respondent.

MEMORANDUM OPINION

Emerson Eugene Stevens, a former Virginia state prisoner
proceeding pro se, brings this petition pursuant to 28 U.S.C.
§ 2254 (“§ 2254 Petition,” ECF No. 1), wherein he once again
challenges his convictions in the Circuit Court for the County of
Lancaster for first-degree murder and abduction with intent to
defile. By Memorandum Opinion and Order entered on November 23,
1992, this Court denied Stevens’s petition for a writ of habeas
corpus pursuant to 28 U.S.C. § 2254. See Stevens v. Greene,
No. 3:92CV540 (E.D. Va. Nov. 23, 1992), and the United States Court
of Appeals for the Fourth Circuit dismissed his appeal. Stevens
v. Greene, 991 F.2d 791, 1993 WL 118078, at *1 (4th Cir. Apr. 16,
1993). On September 5, 2019, Stevens filed an application to file
a successive § 2254 petition with the Fourth Circuit. That

application has not been granted.
Case 3:19-cv-00714-REP Document3 Filed 10/02/19 Page 2 of 3 PagelD# 502

The Antiterrorism and Effective Death Penalty Act of 1996
restricted the jurisdiction of the district courts to hear second
or successive applications for federal habeas corpus relief by
prisoners attacking the validity of their convictions and
sentences by establishing a “‘gatekeeping’ mechanism.” Felker v.
Turpin, 518 U.S. 651, 657 (1996). Specifically, “[b]efore a second
or successive application permitted by this section is filed in
the district court, the applicant shall move in the appropriate
court of appeals for an order authorizing the district court to
consider the application.” 28 U.S.C. § 2244(b) (3) (A). The Court
has not received authorization from the United States Court of
Appeals for the Fourth Circuit to file the present § 2254 Petition
from Stevens and this Court lacks jurisdiction to entertain the
§ 2254 Petition or any accompanying motions at this time.
Moreover, Stevens fails to identify any authority that would allow
the Court to grant Steven’s motion to stay these proceedings
pending the Fourth Circuit’s grant or denial of permission to file
a successive § 2254 petition. Simply put, the gatekeeping
mechanism of §2244(b) (3) (A) deprives this Court of jurisdiction at

this time. See Burton v. Stewart, 549 U.S. 147, 157 (2007).

 
Case 3:19-cv-00714-REP Document 3 Filed 10/02/19 Page 3 of 3 PagelD# 503

Therefore, the action will be dismissed without prejudice for
want of jurisdiction. A certificate of appealability will be
denied.

The Clerk is directed to send a copy of the Memorandum Opinion

to Stevens.

It is so ORDERED.

/s/ ks

Robert E. Payne

Date: October Z~ 2019 Senior United States District Judge
Richmond, Virginia
